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                                         ORDERED.


      Dated: August 26, 2019




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

IN RE:
                                                                CASE NO.: 8:19-bk-04614-MGW
NEIL EDWARD HASELFELD,                                          Chapter 7

      Debtor.
__________________________________/

     ORDER GRANTING CREDITOR, BANK OF AMERICA, N.A.’S MOTION FOR
                   RELIEF FROM AUTOMATIC STAY

         THIS CAUSE came on for consideration on August 22, 2019, at 9:30 a.m. upon Creditor Bank of

America’s Motion for Relief from Automatic Stay (“Motion for Stay Relief”) (Doc. No. 24); Debtor’s

Objection to Motion for Relief from Automatic Stay (Doc. No. 27); and Creditor, Bank of America, N.A.’s

Response to Motion for Stay Relief (Doc. No. 31). The Court having heard argument of counsel and Debtor

Neil Edward Haselfeld, and good cause appearing, accordingly, it is

         ORDERED AND ADJUDGED as follows:

         1.      Creditor’s Motion for Stay Relief (Doc. No. 27) is hereby GRANTED. The Motion was

served on all interested parties.

         2.      The automatic stay arising by reason of 11 U.S.C. § 362 is terminated as to Movant

defending the state court action filed by the Debtor pending in the Circuit Court of the Twelfth Judicial
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Circuit, In and For Sarasota County, Florida, case styled Neil E. Haselfeld v. Bank of America, N.A., Case

No. 2019-CA-1806 NC (“Declaratory Action”).

        3.       The automatic stay is modified for the sole purpose of allowing Movant to take any and all

action to defend the Declaratory Action, but the Movant shall not pursue a foreclosure action without further

relief from this Court or obtain in personam relief against the Debtor.

                                                   ###

Submitted by:

Christian Savio, Esq.
Fidelity National Law Group
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Attorney Christian Savio, Esq. is directed to serve a copy of this order on interested parties and
all parties on the Mailing Matrix and file a proof of service within three days of entry of the order.



                                             SERVICE LIST

Via U.S. Mail:

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3006 Hawthorne Street
Sarasota, Florida 34239.

Stephen L. Meininger, Trustee
707 North Franklin Street, Suite 850
Tampa, Florida 33602

U.S. Trustee
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